       Case 3:16-cv-00414-HTW-LRA Document 52 Filed 02/02/18 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION


EXPRESS OIL CHANGE, LLC. et al.                                                       PLAINTIFF

VS                                               CIVIL ACTION NO.: 3:16-cv-414-HTW-LRA

MISSISSIPPI BOARD OF LICENSURE
FOR PROFESSIONAL ENGINEERS & SURVEYORS                                              DEFENDANT



                                      FINAL JUDGMENT

        Before this court is the Defendant’s Motion for Summary Judgment [Docket No. 22].

Upon consideration of the motion, evidence offered in support of the motion, and the memoranda

of the parties, the Court finds that the motion of the Defendant is well taken and should be

granted. All pending motions in this matter [Docket Nos. 24, 25, & 32] are hereby moot. This

court is issuing an order contemporaneously with this judgment.

        The court concludes that judgment should be entered in favor of the Defendant and

against the Plaintiffs and that the Defendant should be awarded its costs.

        IT IS, THEREFORE, ORDERED AND ADJUDGED that the Complaint be dismissed

with prejudice in accordance with this court’s Order Granting Summary Judgment.

        IT IS FURTHER ORDERED AND ADJUDGED that the Defendant is entitled to recover

its taxable costs in this action upon filing a Bill of Costs in the time and manner prescribed by

the rules.

SO ORDERED AND ADJUDGED, this, the 1st                       day of February               , 2018.


                                              s/HENRY T. WINGATE
                                              UNITED STATES DISTRICT COURT JUDGE
